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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
        v.                                    :       Criminal No. 21-CR-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
        FOR SUBPOENA TO CHAINALYSIS, INC. UNDER FED. R. CRIM. P. 17(c)
                     AND PURPORTED EXPERT NOTICE

        The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully files its opposition to the Defendant’s Notice of Source Code Expert

And Request for Production of Chainalysis Reactor Source Code. See ECF No. 179. Following

briefing and argument on prior related motions, see ECF No. 174 (Court Order), the Court

instructed that if the defense wanted to pursue a potential subpoena to non-party Chainalysis under

Rule 17(c), the defense needed first to obtain a declaration from a qualified expert in support of a

tailored request. ECF No. 174. Instead, the defense expanded the scope of its prior requests, now

seeking that the Court permit access not just to the source code but essentially unfettered access to

every file and computer in Chainalysis’ control, including sensitive records from unrelated

government investigations.

                                          ARGUMENT

   I.        Defense Request for Discovery of Source Code Is Legally Insufficient

        For many of the same reasons articulated in the government’s opposition to the prior

defense motions to compel production of Chainalysis source code, most recently at ECF No. 161,

the defense request does not meet the threshold for specificity, relevance, or admissibility required




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by the Supreme Court in United States v. Nixon, 418 U.S. 683, 700 (1974).

       A. Any Basis for Source Code Discovery Will Be Mooted by Forthcoming

            Chainalysis Production

       At a hearing on August 29, 2023, Chainalysis advised the Court that it would provide

additional detail regarding its heuristics as applied to the clusters in this case. ECF No. 174. The

government has conferred with Chainalysis multiple times over the past week regarding the timing

and substance of the disclosure. Based on Chainalysis’ representations to undersigned counsel,

the government anticipates the forthcoming disclosure will provide the additional granularity and

detail that the defense purports to be seeking.

       The government understands that the Court has expressed concern that the defense have a

sufficient “under the hood” understanding of Chainalysis’ heuristics, and also the ability to test

that the heuristics are executing the way that Chainalysis claims. Neither of these requires

production of or access to the Chainalysis source code, not to mention the massive scope of

additional materials in the defense’s latest request. The government understands that, given the

extremely compressed timeline in advance of trial, the Court directed the potential source code

discovery issue to be briefed on a parallel schedule with the Chainalysis production of additional

detail regarding its heuristics. However, the government anticipates that Chainalysis’ forthcoming

disclosures will comprehensively dispel any potential good-faith basis for seeking access to

Chainalysis’ source code, to the extent one ever existed.

       The government understands that the forthcoming production from Chainalysis will set

forth the specific parameters of each heuristic,1 as customized for each entity. For example, for



       1
         The defense frequently refers to heuristics as “assumptions,” but, as applied in the context
of bitcoin clustering, they are better understood as sets of defined rules for when an address should
be added to a cluster. For Behavioral Heuristics (Heuristic 2), those rules are customized for each
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each address contained in the Bitcoin Fog cluster, the production will identify what specific

heuristic was applied, and what the starting address2 was for running the heuristic. The defense

would be able to look at the starting address, apply the heuristic as described, and confirm that it

does lead to the particular address noted in the spreadsheet. The defense would be able to do this

925,742 times, for each and every address contained in the Bitcoin Fog cluster. The defense can

use this information to continue to argue, unconvincingly in the government’s view, that the

heuristics are too broad and invite errors — as Ms. Still has already opined. This also allows the

defense to continue to test and verify that the heuristic is working exactly as Chainalysis claims,

as the defense can apply the heuristic parameters to the starting address noted and confirm that it

does deliver the resulting address added to the cluster. (The government does not concede that

this exceptional degree of detail on an address-by-address level is necessary to validate or critique

the government experts’ work in this or any other matter. Indeed, Ms. Still’s expert report shows

that the defense has been able to robustly use the information provided by the government in

discovery to evaluate the government’s findings.)

       B. The Latest Defense Request Has Lost Any Remaining Hint of Specificity

       The Court has repeatedly provided clear instructions to the defense that it must identify

with specificity what it is seeking and the relevance of that information. See also United States v.




entity, and are based on close study of the behavior of that entity and an understanding of the
particular pattern in which the addresses within the cluster interact. That understanding is then
distilled to a series of parameters, or rules, that Chainalysis applies in determining whether or not
to add an address to a cluster, with a focus on being under-inclusive rather than risk false positives.
       2
         The defense appears to refer to the starting points for a clustering heuristic as “input”
addresses and the resulting address(es) added to the cluster as the “outputs”; that is not a term
used by Chainalysis and can create confusion given the more commonly accepted use of “input”
and “output” when describing individual transactions on the blockchain. For that reason, the
terms are not adopted here.
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Nixon, 418 U.S. 683, 700 (1974). Instead, in its latest filing, the defense broadened its request

rather than narrow it. The first “specific request” in the defense filing is “Chainalysis source code,

broadly.” ECF No. 179 at 4. The justification for the source code is two short paragraphs

consisting of a definition of source code and the “justification” that “Without having an overview

of the Chainalysis systems and not having previously reviewed Chainalysis architecture and source

code, it is difficult to determine whether Chainalysis Reactor itself will encompass the materials

sufficient to draw conclusions as to the accuracy of Chainalysis’ clustering methods.” ECF No.

179 at 9. The defense is admitting that, not only can it not explain what specifically in the source

code it is looking for, it may not even be in the source code at all. The defense continues to seek

leave from the Court to engage in a pure fishing expedition, now using trawling nets.

       The defense further emphasizes the breadth of its request, explaining that the request is

“not necessarily restricted to Chainalysis Reactor” and is intended to cover additional software,

systems, and data “created by used by Chainalysis.” ECF No. 179 at 4. The defense seems to

seek access to and/or copies of all of the computers that Chainalysis as a corporation was using

during the pendency of this case. (ECF No. 179 at 6, seeking “any machine/disk images of cloud

VMs or computers that Chainalysis was using at the time of the investigation”).3 The request even

extends beyond Chainalysis itself, including requests pertaining to Chainalysis vendors. ECF No.

179 at 5. The defense goes so far as to seek to analyze the “customer notes and annotations” of

each and every Chainalysis user. Id. The government’s prior oppositions discussed the relevant

framework under United States v. Nixon, 418 U.S. 683, 700 (1974) and related cases for assessing




       3
        The defense requests appear to be premised on the false idea that Chainalysis somehow
conducted the “investigation” in this case, instead of federal law enforcement investigators. The
government does not understand the defense team’s basis for continuing to maintain this
demonstrably untrue conspiracy theory in filings before this Court.
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specificity, relevance, and admissibility in considering Rule 17(c) subpoenas; the government does

not repeat that full discussion here, but notes that the defense’s latest request falls short for all the

same reasons previously discussed. ECF No. 161.

        The defense then indicates that it seeks access to an “Independent Software Environment”

that appears to be a standalone, duplicate copy of Chainalysis’ entire technical infrastructure, with

access to and support from Chainalysis engineers and employees. The defense does not offer any

citation for its novel reading of Rule 17 that would allow for such mandatory and burdensome set-

up as a subpoena production.

        C. Defense Fishing Expedition Raises Broader Concerns That Would Warrant

            Additional Briefing

        The defense seeks to have this Court stamp the defense’s review all of the tracing that the

“investigators” conducted using Reactor without limitation to the instant case. It is unclear

whether the defense is referring to the government, Ms. Bisbee, or both. In any event, this

sweeping data pull would reveal detailed information about numerous ongoing sensitive law

enforcement investigations that are entirely unrelated to Mr. Sterlingov’s matter. The defense is

not entitled to, for example, Mr. Scholl’s work product for active ransomware investigations, or

Ms. Bisbee’s tracing in support of a darknet vendor trial in another district. Defense can no more

seek this through access to Chainalysis’ internal records than it can through discovery received

directly from the Department of Justice.

        Defense’s listed bases and justifications for seeking this information, ECF No. 179 at 11-

12, confirm that the information sought has nothing to do with assessing whether Chainalysis’

software accurately applies the heuristics. Rather, the defense submits that the information would

reveal, inter alia, the users’ activity across multiple investigations, frequency of Reactor use, and



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patterns of saving reports. The defendant has now not only graduated to using a trawling net in

his fishing expedition, he is seeking from the Court to leave the Potomac and traverse the entire

Atlantic Ocean with his broad net trailing behind.

         Indeed, other areas of the defense request suggest that they would in fact be seeking access

to the logs of all users’ queries, which would potentially reveal detailed information about

thousands of active and ongoing law enforcement investigations. The broad language of the

defense request suggests that similar issues may arise under other areas where the defense request

extends beyond the Reactor software itself. The government vigorously objects to any production

in this vein. If the court were inclined to grant such a sweeping, dangerous request, the government

would seek the opportunity to more thoroughly brief the serious law enforcement and national

security repercussion of revealing this information.

   II.      Expert Testimony Notice Does Not Comply With Rule 16

         The defense notice is styled as a notice of expert testimony at trial as well as review of the

Chainalysis source code. To the extent the notice is intended to serve as an expert disclosure

pursuant to Rule 16, the disclosure is facially insufficient. The notice does not set forth the expert’s

opinions, or his bases for them. Instead, it is a laundry list of speculation dressed up in technical

jargon intended to justify a Rule 17(c) fishing expedition. Presumably, the defense envisions that

Mr. Bishop would formulate his actual opinions after reviewing all of Chainalysis’s software and

computer infrastructure and all of the government investigations that have used it during the past

decade. At what point would such a disclosure be made?

         This is a clear violation of the plain text of Rule 16, which requires that the substance and

bases for any defense expert’s testimony be disclosed “sufficiently before trial to provide a fair

opportunity for the government to meet the defendant’s evidence.” Fed. R. Crim. P. 16(b)(1)(C)(ii)

(emphasis added). The remarkable breadth of the request does not lend itself to a review that can
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be completed in the five remaining days prior to the start of trial—let alone a Rule 16-compliant

disclosure of Mr. Bishop’s yet-to-be-formulated opinions, a fair opportunity for the government

to review, and time for the Court and parties to litigate the glaring Daubert, relevance, and Rule

403 issues that would arise from such proposed testimony. The expert disclosure requirements in

Rule 16 are intended in part to prevent unfair surprise by either party. A mid-trial disclosure by

the defense would directly contravene Rule 16’s plain text, and it would leave the government

without the opportunity to evaluate the defense expert’s opinions, much less to identify and retain

a proper rebuttal witness if needed.      This is precisely what the expert witness disclosure

requirements are intended to guard against.

       This is a problem of the defense team’s own making. The defense demanded a nine-month

continuance of this trial over the government’s objection in order to identify suitable experts, but

they have repeatedly ignored the Court’s directives, failed to accept proposed accommodations

from Chainalysis, and continue to move the goalposts and stake out maximalist positions that go

well beyond the scope of Rule 17(c) or Rule 16.




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                                         CONCLUSION

       For the foregoing reasons, and those set forth in the previous briefing and hearings on the

matter, the Court should continue to deny leave for the defense to issue its proposed Rule 17(c)

subpoena on Chainalysis, and it should not allow as-yet undisclosed “expert” testimony from Mr.

Bishop in violation of Rule 16(b)(1)(C)(ii).



                                               Respectfully submitted,
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